Case 09-02046        Doc 2510   Filed 12/10/14 Entered 12/11/14 08:03:13                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.: 09-02046
XMH CORP. 1                                   )                (Jointly Administered)
(f/k/a Hartmarx Corporation), et al.,         )                Chapter: 11
                                              )
                                                               Honorable Carol Doyle
                                              )
                                              )
               Debtor(s)                      )

              ORDER GRANTING FINAL DECREE CLOSING THE MAIN CASE

        Upon the motion (the "Motion") of the Liquidation Trust Administrator for the Liquidation
Trust for an order granting final decree and closing the Main Case and granting other related relief; and
it appearing that the Debtors' estates have been fully administered and that all transfers of property and
distributions required to be made by the Plan have been made (or will be made promptly after entry of
this Order); and the Liquidation Trust Administrator having submitted the Closing Report; and this
Court having considered the record of the proceedings in the Main Case; and good and sufficient notice
of the relief requested in the Motion having been given; and it appearing that no other or further notice
need be given; and after due consideration and good and sufficient cause appearing therefore, it is
hereby
                 ORDERED THAT:
1.      Pursuant to Section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022, and Local
Bankruptcy Rule 3022-1, the Main Case is hereby closed.
2.      The Clerk of the Court shall enter this final decree and order (the "Final Decree and Order") on
the docket of the Main Case and such docket thereafter shall be marked as closed.
3.      This Final Decree and Order is without prejudice to the rights of the Liquidation Trust
Administrator or any other party in interest to seek to reopen the Main Case for good cause shown.
4.      This Court shall retain jurisdiction (a) with respect to all matters arising from or related to the
implementation or interpretation of this Final Decree and Order and (b) to enforce or interpret its own
orders pertaining to the Chapter 11 Cases. Furthermore, this Court shall retain jurisdiction over any
matter pending in the Main Case as of the date of entry of this Final Decree and Order.
5.      Notwithstanding any stay that might be applicable to this Final Decree and Order, this Final
Decree and Order shall be effective and enforceable immediately upon entry hereof.

                                                           Enter:



                                                                    Honorable Carol A. Doyle
Dated: December 10, 2014                                            United States Bankruptcy Judge

 Prepared by:
 George N. Panagakis (ARDC No. 06205271)
 Justin M. Winerman (ARDC No. 6298779)
 SKADDEN, ARPS, SLATE, MEAGHER
   & FLOM LLP
 155 North Wacker Drive, Suite 2800
 Chicago, Illinois 60606
 Telephone: (312) 407-0700
